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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLORADO

Civil Action No. 21-cv-02621-DDD

SCHUMÉ NAVARRO ,
      Plaintiff,

v.

CHERRY CREEK SCHOOL DISTRICT NO. 5 ,
      Defendant.


      REPLY IN SUPPORT OF MOTION FOR PRELIMINARY
                      INJUNCTION

      Defendant’s response, ECF No. 12, is a collection of cobbled-together post hoc

justifications for discriminating against Mrs. Navarro, none of which are credible or even

rational. Defendant’s argument that Mrs. Navarro is not a “qualified individual with a

disability” tries to use broad proclamations of the dangers of COVID to cover over the

District’s failure—even now—to make an individualized assessment of the evidence about

Mrs. Navarro’s condition. And the District has still failed to put forth a reasonable defense

of its extremely narrow exemption regime. Instead, the District focuses on Mrs. Navarro’s

political skepticism about how public health authorities have handled the COVID

epidemic. But Plaintiff ’s political beliefs should not distract the Court from the core,

unchallenged facts here:

(1)   A medical professional has concluded that Defendant has a psychological condition

      that makes face coverings intolerable.

(2)   That professional opinion tracks how Mrs. Navarro has described her symptoms and
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        is a straightforward and understandable consequence of her documented medical

        conditions.

(3)     The District already allows others to enter its buildings maskless and has presented no

        evidence that Mrs. Navarro’s presence would add appreciably to whatever risk already

        exists.

Given these facts, the Court should issue a preliminary injunction that prohibits Defendant

from enforcing its mask rules against Mrs. Navarro.

I.      There Is No Evidence that One More Unmasked Person in District Buildings Would
        Present a �
                  Direct Threat“ to the Health and Safety of Others, and the District Has
        Refused to Do the Individualized Assessment that Would Be Necessary to Make that
        Determination as to Mrs. Navarro.
        Defendant’s claim that Mrs. Navarro’s unmasked participation would be a “direct

threat” to others ignores the fact that the “direct threat” assessment requires an

individualized determination, 28 C.F.R. § 35.139(b) (2020). Defendant’s generalized

suggestion that masks are good and more people in masks is better, see Def.’s Resp. 11–12,

dodges any attempt at considering Mrs. Navarro’s individual circumstances. If there was

evidence that she had recently tested positive for COVID or was otherwise carrying a

deadly contagious disease, perhaps the inability to wear a mask would be a direct threat to

others. But there is no such evidence here. Nor can anything the District did be reasonably

interpreted as an attempt to individually assess Mrs. Navarro. Rather, it applied an

irrational, inflexible rule that seems deliberately designed to make it hard for the disabled to

obtain mask exemptions. That is precisely the sort of blanket rule that the “direct threat”

regulation prohibits. See also Silverstein v. Sisters of Charity of Leavenworth Health Servs. Corp.,

614 P.2d 891, 894–95 (Colo. App. 1980) (holding that blanket rule excluding epileptics from

positions in hospitals violates Colorado disability law). 1

1   Defendant is mistaken that the Court should dismiss Mrs. Navarro’s state-law claim, Def ’s
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      Furthermore, a determination that a person poses a direct threat must be objectively

reasonable. Jarvis v. Potter, 500 F.3d 1113, 1122 (10th Cir. 2007). But Defendant’s position is

based on an unreasonable, deliberately narrow exemption regime and its “direct threat”

conclusion is not credible given the evidence. Most obviously, Defendant’s claim that

maskless disabled persons on school grounds constitute a direct threat to others is belied by

the fact that, according to news reports, 2 Defendant has granted several exemptions to

students and staff already, Carina Julig, Aurora-Region School Districts Say Mask Exemption

Requests Remain Low, The Sentinel, Sept. 20, 2021, available at
https://sentinelcolorado.com/orecent-headlines/aurora-region-school-districts-say-mask-

exemption-requests-remain-low/ (noting two staff exemptions and “fewer than 10” student

exemptions); see also Pl.’s Mot, Exs. 8–9, ECF Nos. 2-8–2-9 (photographs of District staff

unmasked in school buildings). Those other exemptions seem particularly salient here since

the candidate forums to which the District has denied Mrs. Navarro access take place after

school hours (when children would generally not be present in large numbers 3), in a large




Resp. 8 n.2. The exhaustion requirement for such claims only applies to actions alleging
“discriminatory or unfair practice[s] prohibited by parts 4 to 7 of [article 34 of the Colorado
Revised Statutes].” Colo. Rev. Stat. § 24-34-306(14) (2020) (emphasis added). The
discrimination Mrs. Navarro suffered, however, is addressed in part 8. See Cmpl. ¶ 30, ECF
No. 3 (citing Colo. Rev. Stat. § 24-34-802).

2 These news reports are not themselves admissible at trial, but their existence suggests that
discoverable, admissible information along these lines exists. They therefore help show that
Mrs. Navarro will probably prevail at trial.

3The relevant public health order was based on “a marked rise in case rates among children,”
Pl.’s Mot., Ex. 10 at 1, ECF No. 2-10 (emphasis added) and worry about “a less safe
environment for unvaccinated children if universal masking is not implemented,” id. at 2
(emphasis added).

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auditorium where substantial social distancing is possible. 4 Without some individualized

explanation of why Mrs. Navarro’s situation is different, Defendant’s claim that she is a

“direct threat” seems more like an after-the-fact position adopted to cover over illegal

discrimination. 5

        Nor is it credible that the District needed a note from a doctor, dentist, or clinical

psychologist before it could assess whether Defendant was a “direct threat.” Insisting on

such a narrow range of professionals for this information is irrational and ignores how

people receive medical treatment these days. Mrs. Navarro saw a licensed professional

counselor (LPC) for her treatment and, as the Court has already noted, “an LPC is a mental

health professional licensed by the State of Colorado to provide mental health and

psychological evaluation, assessment, diagnosis, and treatment to individuals,” Order

Regarding Pl.’s Mot. for TRO & Prelim. Inj. 2, ECF No. 7. Even at UC Health, which

Defendant accuses Mrs. Navarro of avoiding as part of a supposed con, see Def.’s Resp. 5, 14,

Mrs. Navarro sees a nurse practitioner, not a doctor. See Messages Between Pl. & Heather

Ann Simmons Cody, Sept. 9–14, 2021 (attached as Ex. 14).

        Furthermore, even if the District did need information from a doctor, dentist, or

clinical psychologist, surely it could have accepted the necessary information from any such

professional. But the District instead insists on hearing only from a “Colorado-licensed”


4 The video of the first candidate forum shows that even the candidates themselves can be
(and are) spaced widely apart. See Board of Ed. Forums, Overland High School,
https://www.youtube.com/watch?v=Udnd-wbtsoQ.

5A similar analysis applies to Defendant’s claim that it would damage the public interest to
allow Mrs. Navarro to fully participate in candidate forums, Def.’s Resp. 16–17. That claim is
not credible given that the District has already allowed students and staff to appear
maskless in situations that present a greater risk than a maskless Mrs. Navarro on the stage
at a candidate forum would.

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provider. This irrational narrowing of the range of acceptable evidence simply confirms that

the District was trying to make it hard to obtain an exemption.

      Had Defendant really been trying to perform an individualized assessment of

Mrs. Navarro’s circumstances, it would have considered the information she provided and

not simply discounted it out of hand. If the District needed more information to help with a

true individualized assessment, it could have contacted Mrs. Navarro’s counselor directly—

indeed, the letter from her counselor contains the counselor’s phone number and invites the

District to call “if [it has] any further questions.” Pl.’s Mot., Ex. 2 at 4, ECF No. 2-2.

      The claim that the letter “did not list a ‘medical condition’” is another dodge. Def.’s

Resp. 12; accord id. at 14. The counselor’s letter plainly says that Mrs. Navarro “cannot

medically tolerate a face covering due to a prior suffocation trauma that she has experienced”—the

inescapable implication being that the patient has lingering psychological issues because of

that trauma. Pl.’s Mot, Ex. 2 at 4 (emphasis added). And if that wasn’t enough, the counselor

listed a “mental health diagnostic code” for Mrs. Navarro’s condition. Id. The District claims

ignorance over what this code could mean, but a quick internet search would have shown

that it is a common medical billing code referring to an adjustment disorder with mixed

anxiety and depressed mood. It is from the International Classification of Diseases (10th ed.,

clinical modification), which is published by a federal government agency. Indeed, the

Centers for Disease Control provides an online tool for searching those codes at

https://icd10cmtool.cdc.gov/?fy=FY2022. The District could’ve found a description of the

diagnosis simply by entering “F43.23” (the code given by Mrs. Navarro’s provider) into the

search tool. But the District did not want to provide Mrs. Navarro with the rights afforded

to her by the ADA. So it instead did everything in its power to nitpick her evidence and

arbitrarily declare it unacceptable.

      At any rate, the evidence in front of the Court now establishes Mrs. Navarro’s

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condition. E.g., Simpson Aff. ¶¶ 3–9 (attached as Ex. 11); Navarro Aff. ¶¶ 2–11 (attached as

Ex. 12); Cmpl. ¶¶ 1–7, ECF No. 3; Pl.’s Mot., Ex. 2 at 3–4. That is enough to show that

Mrs. Navarro is likely to prove both her disability and the need for an accommodation.

Therefore, she has established the likelihood of success necessary for a preliminary

injunction.

II.   Mrs. Navarro‘s Political Positions Do Not Contradict the Credible Medical Opinions
      and Historical Evidence Showing She Cannot Medically Tolerate Face Coverings.
      Defendant also argues that Mrs. Navarro’s political opinions regarding government-

imposed mask regimes and statements that she does not want to wear a mask somehow

invalidate the evidence of her disability. Def.’s Resp. 14. This argument fails for at least two

reasons.

      First, most of what Defendant points to does not actually contradict Mrs. Navarro’s

need for an exemption. It is unsurprising that a person with a disability making masks

intolerable for her “‘does not want to comply’ with mask mandates,” Def.’s Resp. 14 (quoting

Exs. A, A2). Likewise, her inability to get an exemption letter from UC Health rested on a

policy decision not to give out letters to anyone, not a reasoned medical opinion that

contradicted Mrs. Navarro’s counselor. See Ex. 14 at 3.

      Second, as Mrs. Navarro asserts in her statement, her political positions are based on

her belief that “the government should allow people to make the decision that they believe

is best for them and their children.” Ex. 12 ¶ 13. This has been a constant refrain in

Mrs. Navarro’s political campaign. See Pl.’s Mot., Ex. 1 at 3, ECF No. 2-1. The current

District regime plainly disagrees with this message. But that policy dispute is a separate

issue from what the ADA requires for Mrs. Navarro’s disability. Using broad

pronouncements about government policy to reject her request for an exemption based on a

documented disability seems more likely to be political persecution than a reasoned


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response to the evidence.

      Ultimately, Mrs. Navarro’s disability is supported by a well-documented history of

abuse, e.g., Ex. 11 ¶¶ 3–4, 8; Navarro Letter (attached as Ex. 13). And the supposed

discrepancies in Mrs. Navarro’s mask-wearing behavior are easily explained as a disabled

woman’s failed attempts to exist in a society that has mandated near-constant mask wearing

for more than a year. See Ex. 12 ¶¶ 5–6, 8–11. The District’s post-hoc reliance on

Mrs. Navarro’s political statements (mentioned in the response for the first time) to justify

its treatment of her simply does not hold water.

III. Mrs. Navarro Is Requesting a Prohibitory Injunction, Not a Mandatory One.
      Defendant is also wrong that Mrs. Navarro is requesting a disfavored “mandatory”

injunction. A “mandatory” injunction is a term of art, distinguishing injunctions that require

a person to do something from those that merely prohibit it from doing something

(“prohibitory” injunctions). “There is no doubt that determining whether an injunction is

mandatory as opposed to prohibitory can be vexing.” O Centro Espirita Beneficiente Uniao do

Vegetal v. Ashcroft, 389 F.3d 973, 1006 (10th Cir. 2004) (Seymour, J., concurring in part and

dissenting in part). 6

       In many instances, this distinction is more semantical than substantive. For to
       order a party to refrain from performing a given act is to limit his ability to
       perform any alternative act; similarly, an order to perform in a particular man-
       ner may be tantamount to a proscription against performing in any other.
Id. (internal quotes omitted).

      But despite the difficulty, the Court still must sort out which type of injunction would

be involved here. Ultimately, this requires the Court to consider whether “the gravamen of

the plaintiff ’s” request “seek[s] to prohibit action on the part of the defendant.” Id. When a

6O Centro Espirita is a fractured en banc opinion. Plaintiff has endeavored here to cite only
portions of the decision that were joined by a majority of the judges.

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case involves the government, that determination hinges on whether the requested

injunction seeks “to stop the government from enforcing” some rule. Id. If so, the requested

injunction is prohibitory, not mandatory.

      Mrs. Navarro has requested only that she be allowed “access to and participation in

. . . school board candidate forums and other events open to the public without requiring

her to wear a facial covering.” Pl.’s Mot. 1, ECF No. 2. This would not require Defendant to

change the forum in any way. Defendant need only forbear enforcement of the facial

covering requirement. That’s a prohibitory injunction, not a mandatory one. See O Centro

Espirita, 389 F.3d at 1006 (Seymour, J., concurring in part and dissenting in part).

IV. The District‘s Provision of a Remote Attendance Option Does Not Moot
    Mrs. Navarro‘s Need for a Preliminary Injunction.
      Lastly, the District is wrong that is has solved Mrs. Navarro’s problem by providing

her the ability to participate via videoconference.

      For one thing, ADA plaintiffs need not establish irreparable harm to obtain a

preliminary injunction. Colo. Cross-Disability Coal. v. Abercrombie & Fitch Co., 957 F. Supp. 2d

1272, 1283 (D. Colo. 2013); Rothberg, 300 F. Supp. 2d at 1102–03; accord Star Fuel Marts, LLC v.

Sam’s East, Inc., 362 F.3d 639, 651 (10th Cir. 2004). See generally 42 U.S.C. § 12133 (2018)
(providing for injunctive relief in Title II cases). So the half-measure the District has

provided with remote attendance does not adequately address the legal issue.

      Furthermore, the purpose of the ADA is “to assure equality of opportunity [and] full

participation” for disabled persons. 42 U.S.C. § 12101(a); see also id. (“[P]hysical or mental

disabilities in no way diminish a person’s right to fully participate in all aspects of society

. . . .”); Rothberg v. Las Sch. Admission Council, Inc., 300 F. Supp. 2d 1093, 1105 (D. Colo. 2004)

(“The purpose of the ADA is to guarantee that those with disabilities are not disadvantaged

and to place those with disabilities on an equal footing with others.” (internal quotes


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omitted)). As months of experience throughout the COVID pandemic has taught us,

videoconferences are an inadequate substitute for in-person interaction. 7 This is especially

true in the context of a local-level political campaign, where personal, personalized

communication is key to a successful candidacy.

      Additionally, remote participation has only been extended to Mrs. Navarro “as a

courtesy,” not out of obligation. E-mail from Sonja McKenzie to Dan Burrows, Sept. 28,

2021 (attached as Ex. 15). “[V]oluntary cessation of illegal conduct” does not moot a case.

Roe v. Cheyenne Mountain Conference Resort, Inc., 124 F.3d 1221, 1229 (10th Cir. 1997). Without

injunctive relief, the District could remove the remote option at any time.

      Nor could the Court solve this problem by simply requiring Defendant to keep

offering a remote attendance option. Such an injunction would be a “mandatory” injunction.

To stay within the proper exercise of its power, the Court should limit itself to a prohibitory

injunction that merely prevents Defendant from enforcing its mask policy against

Mrs. Navarro.

      WHEREFORE, Mrs. Navarro renews her request that the Court issue a preliminary

injunction allowing her to attend the upcoming candidate forums—and other events hosted

by Defendant that are open to the public—without wearing a mask.




7If it were an adequate substitute, one would wonder why the District didn’t just host fully
online candidate forums in the first place. Or why the response focuses so much on the need
for “in-person learning” in its schools. Def.’s Resp. 3, 11.

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                                     C E RTI F I CATI O N

      I hereby certify that the foregoing pleading complies with the type-volume limitation

 set forth in Judge Domenico’s Practice Standard III(A)(1).



                                               s/ Daniel E. Burrows
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